        CASE 0:14-cr-00364-PAM-DTS Doc. 592 Filed 12/21/15 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 14-364(11) (RHK/FLN)

UNITED STATES OF AMERICA,                 )
                                          )   POSITION OF THE UNITED STATES
                    Plaintiff,            )   WITH RESPECT TO SENTENCING
      v.                                  )
                                          )
LAKESHA COLEMAN,                          )
                                          )
                    Defendant.            )
                                          )

      The probation officer has calculated a guideline range of level 20/category I = 33-

41 months. This is slightly higher than the range contemplated by the plea agreement,

which was level 17/category I = 24-30 months.           For the following reasons, the

government stands by the plea agreement and recommends a sentence of 30 months.

      Guideline Computations. The presentence report correctly assigns a base offense

level of 12 with a 2-level enhancement for the number of guns attributable to Coleman (6

guns), and an additional 4-level enhancement for use of at least one of the firearms in

connection with other felony offenses. PSR ¶ ¶ 31, 32, 35. So far, the PSR is consistent

with the plea agreement.         However, the PSR also includes an additional 4-level

enhancement for trafficking in firearms. PSR ¶ 34. Although technically correct, the

government cannot endorse this enhancement because it did not reserve its right to do so

in the plea agreement.

      Role in the Offense.        The probation officer has recommended a 2-level role

reduction. If the Court denies the recommended 4-level enhancement for trafficking in

firearms, then the government believes it should also deny the 2-level role reduction.
        CASE 0:14-cr-00364-PAM-DTS Doc. 592 Filed 12/21/15 Page 2 of 4




Under the plea agreement, Coleman is being held responsible only for her own actions in

purchasing six firearms as a straw purchaser and providing them to other members of the

conspiracy, who used at least one of them to commit other felony offenses. Because

Coleman is not being held accountable for all the guns in the conspiracy, but only the

ones with which she was personally involved, a role reduction is unwarranted. See

U.S.S.G. § 3B1.2, application note 3(A). As to the six guns she personally obtained as a

straw purchaser, the government’s position is she was an average participant because she

personally went into the gun stores and obtained the guns under false pretenses.

       Acceptance of Responsibility.          In the plea agreement, the government

conditionally agreed to recommend a 3-level reduction for acceptance of responsibility.

But this was dependent on the defendant testifying truthfully during the change of plea

hearing, participating truthfully with the probation office in the presentence investigation,

not violating any conditions of pretrial release, and continuing to exhibit conduct

consistent with acceptance of responsibility. Plea Agreement ¶ 4. It appears that the

defendant has violated at least three of these prerequisites.

       According to the probation officer, Coleman was not truthful in her oral

acceptance of responsibility statement, but rather falsely claimed she bought the six

firearms for her own personal use and was the later victim of theft. This is the same false

story she told the investigating agents, and was also the basis for the government’s initial

request for an enhancement for obstruction of justice, Plea Agreement ¶ 9, which the

government has now abandoned.



                                              2
        CASE 0:14-cr-00364-PAM-DTS Doc. 592 Filed 12/21/15 Page 3 of 4




       In addition, the defendant tested positive for controlled substances repeatedly

while out on bond in this case, which ultimately led to the revocation of her pretrial

release. The undersigned does not believe that testing positive for controlled substances,

by itself, is a basis for denying credit for acceptance of responsibility.        However,

Coleman’s drug use while on bond was aggravated by her conduct in falsely denying to

her Pretrial Services Officer and to the Court that she had used illegal drugs. Taken as a

whole, the defendant’s behavior since April 10, 2015 when she pleaded guilty in this case

strongly suggests she has not accepted responsibility for her criminal conduct.

       Recommendation. Based on all the foregoing considerations, the government

respectfully recommends a sentence of 30 months. This is the top end of the guideline

range contemplated by the plea agreement.         The actions of straw purchasers like

Coleman, who purchase numerous guns and provide them to convicted felons and gang

members such as Coleman’s co-defendants, is a serious threat to the safety of the

community. Not only does such conduct put guns in the hands of people who could not

otherwise lawfully obtain them, when these felons and gang members know that the guns

cannot be traced directly back to them, they feel free to use the guns to commit other

felony offenses such as robberies, shootings, and even murders. People like Coleman

who provide guns to prohibited persons, usually for a fee, need to be held accountable for

the consequences of their illegal behavior.




                                              3
       CASE 0:14-cr-00364-PAM-DTS Doc. 592 Filed 12/21/15 Page 4 of 4




Dated: December 21, 2015                 Respectfully submitted,

                                         ANDREW M. LUGER
                                         United States Attorney

                                         s/Jeffrey S. Paulsen
                                         BY: JEFFREY S. PAULSEN
                                         Assistant U.S. Attorney
                                         Attorney ID No. 144332




                                     4
